                           IN TIIE UNITED STATES DISTRICT COURT
                       FOR TIIE EASTERN DISTRICT OF NORTII CAROLINA
                                      EASTERN DMSION
                                       No. 4:07-CR-62-D


    UNITED STATES OF AMERICA                      )
                                                  )
                                                  )
                       v.                         )              ORDER
                                                  )
    MITCHELL SWAIN,                               )
                                                  )
                              Defendant           )


           On March 29, 2021, Mitchell Swain ("Swain" or "defendant") moved pro se for

    compassionate release under the First Step Act ("First Step Act"), Pub. L. No. 115-391, § 603(b),

    132 Stat 5194, 523~1 (2018)(codifiedasamendedat 18U.S.C. § 3582), and for appointment of

    counsel [D.E. 152]. As explained below, the court denies Swain's motion.

                                                      I.

           On May 5, 2008, pursuant to a written plea agreement, Swain pleaded guilty to conspiracy

    to distribute and possess with intent to distribute more than SO grams of cocaine base (crack) and a

    quantity of cocaine. See [D.E. 44, 45, 82]. On February 26, 2009, the court held Swain's sentencing

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    hearing. See [D.E. 74, 78, 83]. At the hearing, the court adopted the facts set forth in the

    Presentence Investigation Report ("PSR") and ruled on Swain's objections to the PSR. See Fed. R.

    Crim. P. 32(i)(3)(A}--(B); Sent Tr. [D.E. 83] 5-127. ThecourtcalculatedSwain'stotaloffenselevel

    to be 39, his criminal history category to be m, and his advisory guideline range to be 324 to 405

    months' imprisonment See Sent Tr. [D.E. 83] 127. After thoroughly considering all relevant

    factors under 18U.S.C. § 3553(a), thecourtsentencedSwainto 324months' imprisonment See id.

    at 136-42. Swain appealed [D.E. 75]. On February 25, 2010, the United States Court of Appeals
for the Fourth Circuit affirmed this court's judgment. See United States v. Swmn, 367 F. App'x 417,

417-18 (4th Cir. 2010) (per curiam) (unpublished).

       On April 29, 2011, Swain moved to vacate and set aside his 324-month sentence under 28

U.S.C. § 2255. See [D.E. 88]. On June 1, 2011, Swain amended his section2255 motion. See [D.E.

91]. On July 19, 2011, the United States moved to dismiss Swain's section 2255 motion. See [D.E.

94]. On August 26, 2011, Swain responded in opposition. See [D.E. 99]. On May 9, 2013, the

court granted the government's motion to dismiss and denied a certificate ofappealability. See [D.E.

102]. Swain appealed. On January 23, 2014, the Fourth Circuit dismissed Swain's appeal. See

United States v. Swmn, 550 F. App'x 172, 173 (4th Cir. 2014) (per curiam) (unpublished).

       On December 7, 2015, Swain moved for a sentence reduction under 18 U.S.C. § 3582(c)(2),

U.S.S.G. § lBl.10, and Amendment 782. See [D.E. 117]. The court calculated Swain's new

advisoey guideline range to be 262 to 327 months' imprisonment. See [D.E. 126] 1. Swain

requested a 262-month sentence. See id. On July 20, 2018, the court denied Swain's motion.

See id. at 2-3.

       On May 16, 2019, Swain moved prose for relief under section 404 of the First Step Act

[D.E. 128]. On December 4, 2020, Swain moved through counsel forrelief under section 404 [D.E.

136]. On January 4, 2021, Swain requested home confinement under the Coronavirus, Aid, Relief,

and Economic Security Act ("CARES Act"), Pub. L. No. 116-136, § 12003(b)(2), 134 Stat. 286, 516

(2020) [D.E. 142]. On January 28, 2021, the court denied Swain's motions forreduction of sentence

and dismissed Swain's request for home confinement [D.E. 143]. Swain appealed [D.E. 144], and

the appeal remains pending. Thus, the court denies Swain's motion for compassionate release. See

Fed. R. Crim. P. 37(a); Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per

curiam); United States v. Bunch, 828 F. App'x 185, 185 (4th Cir. 2020) (per curiam) (unpublished);

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  United States v. Pawlowski, 967 F.3d 327, 329 n.4 (3d Cir.-2020); Doe v. Pub. Ci~ 749 F.3d

  246, 258 (4th Cir. 2014).

         Alternatively, on December 21, 2018, the First Step Act went into effect. See First Step Act,

  132 Stat. at 5249. Before the First Step Act, only the Director of the Bureau of Prisons ("BOP")

  could :file a motion for compassionate release. Under the First Step Act, a sentencing court may

  modify a sentence ofimprisonment either upon a motion ofthe Director ofthe BOP "or upon motion

  of the defendant after the defendant has fully exhausted all adminiim-aµve rights to appeal a failure

  of the [BOP] to bring a motion on the defendant's behalf or the lapse of30 days from the receipt of

  such a request by the warden of the defendant's facility, whichever is earlier." 18 U.S.C. §

  3582(c)(l)(A).

         After a defendant meets the exhaustion requirement, a defendant must (1) demonstrate

  "extraordinary and compelling reasons" for a sentence reduction, or (2) be at least 70 years old, have

  served at least 30 years in prison, and have the Director of the BOP determine that the defendant is

  not a danger to the safety of another person or the community. Id. In deciding to reduce a sentence

  undersection3582(c)(l)(A), acourtmustconsultthe sen'tencingfactorsin 18 U.S.C. § 3553(a) and

  must ensure that a sentence reduction is "consistent with applicable policy statements" ofthe United

"" States Sentencing Commission (the "Commission"). Id.

         The Commission policy statements include U.S.S.G. § lBl.13. Section lBl.13 essentially

  parrots section 3582(c)(l)(A)'s requirements and adds that the defendant not be "a danger to the

  safety of any other person or to the community." U.S.S.G. § lBl.13(2). Section 1Bl.13's

  application notes provide examples ofextraordinary and compelling reasons, including: (A) serious

  medical conditions ofthe defendant, (B) advanced age ofthe defendant when coupled with a serious

  deterioration in physical and mental health due to aging and having served at least 10 years or 75%

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of his or her imprisonment term (whichever is less), (C) family circumstances, or (D) another

extraordinary and compelling reason. See U.S.S.G. § lBl.13 cmt. n.1. 1 Application note 2 states


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           Application note 1 to U.S.S.G. § lBl.13 states in full:

       1.      Extraordinary and Compelling Reasons.-Provided the defendant meets the
               requirements of subdivision (2), extraordinary and compelling reasons exist
               under any of the circumstances set forth below:

               (A) Medical Condition of the Defendant.-

                       (i) The defendant is suffering from a terminal illness (i.e., a serious and
                           advanced illness with an end oflife trajectory). A specific prognosis
                           of life expectancy (i.e., a probability of death within a specific time
                           period) is not required. Examples include metastatic solid-tumor
                           cancer, amyotrophic lateral sclerosis (ALS), end-stage organ
                           disease, and advanced dementia.

                       (ii) The defendant is--

                             (1) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment,
                                  or

                             (Ill) experiencing deteriorating physical or mental health because
                                   of the aging process,

                            that substantially diminii;hes the ability of the defendant to
                            provide self-care within the environment ofa correctional facility
                            and from which he or she is not expected to recover.

                 (B) Age of the Defendant-The defendant (i) is at least 65 years old; (ii)
                     is experiencing a serious deterioration in physical or mental health
                     because ofthe aging process; and (iii) has served at least 10 years or 75
                     percent of his or her term of imprisonment, whichever is less.

                 (C) Family Circumstances.-

                      (i) The death or incapacitation ofthe caregiver ofthe defendant's minor
                          child or minor children.



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 that "an extraordinary and compelling reason need not have been unforeseen at the time of

 sentencingtow~tareductionin the term of imprisonment." U.S.S.G. § lBl.13 cmt. n.2. Thus,

the fact ''that an extraordinary and compelling reason reasonably could have been known or

 anticipated by the sentencing court does not preclude consideration for a reduction under this policy

 statement." Id. Application note 3 states, "[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of the

defendant is not, by itself, an extraordinary and compelling reason for purposes of this policy

 statement." U.S.S.G. § lBl.13 cmt. n.3.

        The Commission has lacked a quorum since Congress enacted the First Step Act and has not

updated U.S.S.G. § lBl.13 to account for the First Step Act. Accordingly, section 1B1.13 does not

provide a policy where an inmate files a motion for a sentence reduction under 18 U.S.C. §

3S82(c)(l)(A). See, e.g.• United States v. IIlgh, No. 20-73S0, 2021 WL 1823289, at *3 (4th Cir.

May 7, 2021); United States v. Kibble, 992 F.3d 326, 330-31 (4th Cir. 2021); United States v.

McCoy, 981 F.3d 271, 280-84 (4th Cir. 2020). Rather, "[section] 1B1.13 only applies when a

request for compassionate release is made upon motion of the Director ofthe [BOP]." Kibble, 992

F.3d at 330-31. Nevertheless, section lBl.13 provides informative policy when assessing an

inmate's motion, but a court independently determines whether "extraordinary and compelling

reasons" warrant a sentence reduction under 18 U.S.C. § 3S82(c)(l)(A)(i). See IIlgh. 2021 WL


                     (ii) The incapacitation of the defendant's spouse or registered partner
                         when the defendant would be the only available caregiver for the
                         spouse or registered partner.

                (D) Other Reasons.-A.s determined by the Director of the Bureau of
                      Prisons, there exists in the defendant's case an extraordinary and
                      compelling reason other than, or in combination with, the reasons
                      described in subdivisions (A) through (C).

U.S.S.G. § lBl.13 cmt. n.1.

                                                  s
1823289,at *3;McCoy,981 F.3dat284. In doing so, thecourtconsultsnotonlyU.S.S.G. § lBl.13,

butalsothetextof18 U.S.C. § 3582(c)(l)(A)a.tidthesection3553(a)factors. See, e..g.,McCoy, 981

F.3d at 280-84; United States v. Jones, 980 F.3d 1098, 1101-03 (6th Cir. 2020); United States v.

Gunn, 980 F.3d 1178, 1180-81 (7th Cir. 2020); United States v. Ruffin 978 F.3d 1000, 1007-08

(6th Cir. 2020); United States v. Brooker, 976 F.3d 228, 237-38 (2d Cir. 2020); United States v.

Clark, No. 1:09cr336-1, 2020 WL 1874140, at *2 (M.D.N.C. Apr. 15, 2020) (unpublished).

       Swain asserts that in May 2020, he submitted a compassionate release request to the warden,

which the warden denied on June 9, 2020. See [D.E. 152] 2. The government has not invoked

section 3582' s exhaustion requirement. See United States v. Alam, 960 F.3d 831, 833-34 (6th Cir.

2020).2 Accordingly, the court addresses Swain's claim on the merits.

       Swain seeks compassionate release pursuant to section 3582(c)(l)(A). In support of his

request, Swain cites the COVID-19 pandemic, his age (54), and his hypertension and obesity. See

[D.E. 152] 2-3. Swain also cites his rehabilitation efforts, his release plan, and that he has served

over 50% of his sentence. See id. at 3-4.

       As for the medical condition ofthe defendant policy statement, the policy statement requires

that the defendant is "suffering from a serious physical or medical condition ... from which he or

she is not expected to recover." U.S.S.G. § lBl.13 cmt. n.l(A)(ii). Although Swain states that he

suffers from hypertension and obesity, he has not demonstrated that he is not going to recover from

these conditions or that they cannot be treated while Swain serves his sentence. Accordingly,




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          The Fourth Circuit has not addressed whether section 3582' s exhaustion requirement is a
jurisdictional or claims-processing requirement. The court assumes without deciding that the
requirement is a claims-processing rule, and that the government must ''properly invoke'' the rule
for this court to enforce it. See Afmn, 960 F.3d at 833-34.

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reducing Swain's sentence is not consistent with application note l(A).             See 18 U.S.C. §

3582(c)(l)(A).

        As for the "other reasons" policy statement, the court assumes without deciding that the

COVID-19 pandemic, Swain's medical conditions, Swain's rehabilitation efforts, and his release

plan are extraordinary and compelling reasons under section 3582(c)(l)(A). Cf. United States v.

Raia, 954 F.3d 594, 597 (3d Cir. 2020) ("[T]he mere existence of COVID-19 in society and the

possibility that it may spread to a particular prison alone cannot independently justify compassionate

release, especially considering BOP's statutory role, and its extensive and professional efforts to

curtail the virus's spread."). Even so, the section 3553(a) factors counsel against reducing Swain's

sentence. See High. 2021 WL 1823289, at *4-7; Kibble, 992 F.3d at 331-32; United States v.

Chambliss, 948 F.3d 691, 693-94 (5th Cir. 2020); Clark, 2020 WL 1874140, at *3-8.

        Swain is 54 years old and engaged in serious criminal conduct betweenMarch2004 and June

2007. See Sent. Tr. [D.E. 83] 7-109, 123-27, 136-40; PSR ,r,f 7-12. Swain conspired with others

to distribute a very large amount of cocaine base (crack), as well as some cocaine and marijuana.

Swain also possessed a stolen firearm in furtherance ofhis drug trafficking activities. See PSR ,r 11.

Moreover, on June 27, 2007, when officers attempted to arrest Swain as part ofa buy-bust operatio~

Swain led them on a high-speed chase at about 2:30 p.m. amidst medium traffic during which he

drove at speeds over 80 miles per hour, used his vehicle as a weapo~ discarded some ofthe cocaine

out the window of his van, collided with a police vehicle, refused to comply with officers' orders,

and forced officers to wrestle him from his van and tase him to get him to comply. See id. ,r 7; Sent.

Tr. [D.E. 83] 14-26. Swain is a violent recidivist with convictions for larceny (two counts), injury

to personal property (three counts), simple assault, resist or obstruct a public officer, driving while

license revoked, resisting a public officer (two counts), possession with intent to sell and deliver

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cocaine, maintajnjng a vehicle, dwelling, or place for controlled substances, and possession of a

controlled substance on prison or jail premises. See PSR ft 14-24. Swain also has performed

poorly on supervision and has a spotty work history. See id. ft 14-18, 39--42. Swain has taken

some positive steps while incarcerated on his federal sentence, but has been sanctioned for

possessing unauthorized items, failing to follow safety regulations in 2009, using marijuana and

suboxone in 2016, and extorting/blackmaiVprotecting in 2019. See [D.E. 136] 6-7; [D.E. 136-3];

[D.E. 140] 2.

       The court has considered Swain's exposure to COVID-19, his medical conditions, his

rehabilitation efforts, and his release plan. Cf. Pe_pper v. United States, 562 U.S. 476, 480-81

(2011); HiglL 2021 WL 1823289, at *4-7; United States v. McDonald, 986 F.3d 402,412 (4th Cir.

2021); United States v. MartiJL 916 F.3d 389, 398 (4th Cir. 2019). Having considered the entire

record, the steps that the BOP has taken to address COVID-19, the section 3553(a) factors, Swain's

arguments, the government's persuasive response, and the need to punish Swam for his serious

criminal behavior, to incapacitate S ~ to promote respect for the law, to deter others, and to

protect society, the court declines to grant Swain's motion for compassionate release. See, e~

Chavez-Meza v. United States, 138 S. Ct. 1959, 1966-68 (2018); High, 2021 WL 1823289, at *4-7;

Ruffin, 978 F.3d at 1008--09; Chambliss, 948 F.3d at 693-94; United States v. Hill, No. 4: 13-CR-28-

BR, 2020 WL205515, at *2 (E.D.N.C. Jan. 13, 2020) (unpublished), aff'd, 809 F. App'x 161 (4th

Cir. 2020) (per curiam) (unpublished).

                                                II.

       In sum, the court DENIES Swain's motion for compassionate release and for appointment

of counsel [D.E. 152].



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SO ORDERED. This -3_ day of June 2021.



                                         JSC.DEVER.ill
                                         United States District Judge




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